Case 2:04-cV-02828-.]P|\/|-de Document 18 Filed 06/03/05 Page 1 of 2 Page|D 9

IN THE UNITED sTATEs DISTRICT COURT F“‘ED E`*' 7§~ § ~"3'
FOR THE WESTERN DISTRICT OF TENNESSEE _ c
`1 _'} -
WESTERN DWISION U"’ JUF' d PH 3' 55
JEWEL WASHINGTON, ) Y§§Y »F.':~;_:’§:§YE'~?
) W.t;t Oi* 'F'N, MEMPH:S
P]aintifi`, )
)
v. ) Civil NO. 04-2828
)
JO ANNE BARNHART, )
Commissioner of the Social )
Security Administration, )
)
Defendant. )

OR])ER GRANTING DEFENDANT LEAVE
TO FILE RESPONSE

/

Now, on this `_j? day of\j (A/\C; , 2005, the Court, after reviewing Defendant’s Motion

for Leave to File a Response to Plaintiff’s Reply Brief, finds that good Cause exists for granting
Defendant’s Motion.

IT ]S THEREFORE CONSIDERED AND ORDERED THAT, Defendant be granted Leave

@tt@/ML

Un' ed States District Juclge

to File a Response to Plaintiff"s Reply Brief.

lT lS SO ORDERED.

   
 

   

Thls document entered on the docket sh et In
W`ith F{u|e 58 and/or 79(a) FP.CP on

 

  

  

DISTRICT OURT - WESTERN ISRICT OF TENNESSEE

     

TATES

win

UNITED

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 18 in
case 2:04-CV-02828 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listedl

 

 

Joe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Chris A. Cornaghie

LAW OFFICE OF CHRIS CORNAGH[E
1407 Union Ave.

Ste. 1203

1\/1emphis7 TN 38104

Honorable J on McCalla
US DISTRICT COURT

